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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

ANDREW BABINSKI                                       *
                                                      *
versus                                                *    No. 3:20-cv-00426-SDD-EWD
                                                      *
TODD QUEEN, in his personal and official              *
capacity as Dean of the College of Music and          *    JUDGE SHELLY D. DICK
Dramatic Arts of Louisiana State University,          *
KRISTIN SOSNOWSKY, in her personal and                *    MAGISTRATE ERIN WILDER-
official capacities as Chair of the School of Theatre *    DOOMES
of Louisiana State University,SHANNON WALSH, *
JOHN FLETCHER, and ALAN SIKES                         *


                           RULE 7(A) RESPONSE TO
                 AFFIRMATIVE DEFENSE OF QUALIFIED IMMUNITY

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, ANDREW

BABINSKI, (“Babinski”) who in response to the affirmative defense of qualified immunity raised

by Defendants, now respectfully avers as follows. Because Babinski’s claims under the Due

Process Clause, the Equal Protection Clause, and conspiracy to violate civil rights have been

dismissed with leave to amend, Babinski will only address his Free Speech Clause and freedom

from retaliation claims in this Response:


                                                1.

       As a factual matter, the defendants knew they were not permitted to impede Babinski’s

progress in the Theatre Ph.D. Program as long as Babinski paid tuition. On July 22, 2019, in an

email from Professor Sosnowsky to Professors Walsh and Fletcher discussing the request for a no-

contact order against Babinski, Professor Sosnowsky relayed information she had received from

Tracy Blanchard of the Student Advocacy and Accountability Office:




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                 I also spoke with Tracy regarding Andy’s continuation in the
                 program. We are not able to prevent him from continuing in the
                 program should he be able to pay his tuition.

          Despite Babinski having paid his tuition, the defendants nevertheless prevented Babinski

from continuing in the Program. This alone is a basis to deny qualified immunity to the defendants

at this stage.


                                                   2.

          Defeating qualified immunity requires a two-part analysis: (1) whether a constitutional

right was violated, and (2) whether that right was clearly established at the time of the alleged

violation. Sims v. City of Madisonville, 894 F.3d 632, 638 (5th Cir. 2018). Babinski meets both

prongs.


                                                   3.

          Qualified immunity is not absolute. The Supreme Court recognizes that the doctrine should

only apply to those government officials who “perform their duties reasonably.” Pearson v.

Callahan, 555 U.S. 223, 231 (2009). On the other hand, a government official who abuses her

office is rightly subject to an action for damages, which is often the only avenue to vindicate an

injured person’s rights. Anderson v. Creighton, 483 U.S. 635, 638 (1987) (citing Harlow v.

Fitzgerald, 457 U.S. 800, 814 (1982)). The Supreme Court cautions against requiring strict rigidity

in factual similarities between prior cases and the case under consideration. See Hope v. Pelzer,

536 U.S. 730, 739 & n. 9 (2002).


                                                   4.

          Babinski’s right to be free from adverse action for his speech on a college campus is clearly

established by applicable law, to wit:




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                                                   5.

        In Tinker v. Des Moines Independent Community School District, 393 U.S. 503 (1969), the

Supreme Court established the rule of decision in this case: that student speech cannot be restricted

unless it causes an actual or reasonably projected substantial disruption to the campus learning

environment. Id. at 509. Tinker assumes that its pronouncements apply to “the supervised and

ordained discussion which take place in the classroom” and goes on to specify that “conduct by

the student, in class or out of it, which for any reason . . . materially disrupts classwork or involves

substantial disorder or invasion of the rights of others is, of course, not immunized by the

constitutional guarantee of freedom of speech.” Tinker, 393 U.S. at 513 (emphasis added).


                                                   6.

        In Papish v. Board of Curators of the University of Missouri, 410 U.S. 667 (1973), the

Supreme Court held that a graduate student expelled for speech disseminated on campus must be

reinstated. The student had circulated a newspaper containing indecent speech and was therefore

expelled for violations of the student code of conduct. The Court stated that “the First Amendment

leaves no room for the operation of a dual standard in the academic community with respect to the

content of speech” and that expelling the student could not be “justified as a nondiscriminatory

application of reasonable rules governing conduct”. Even Chief Justice Burger, dissenting in

Papish, recognized that “[s]tudents are, of course, free to criticize the university, its faculty, or the

Government in vigorous, or even harsh, terms.” Papish, 410 U.S. at 672 (Burger, C.J., dissenting)

(emphasis added).


                                                   7.

        In Oliver v. Arnold, 3 F.4th 152 (5th Cir. 2021), the Fifth Circuit recognized the firm

establishment “that a government official violates the First Amendment by retaliating against a


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person for exercising First Amendment rights—that is, by taking adverse actions that are

substantially motivated against the plaintiffs’ exercise of constitutionally protected conduct that

cause the plaintiff an injury that would chill a person of ordinary firmness from continuing to

engage in that protected activity.” Id. at 160 (internal quotations and brackets omitted). That case

upheld the summary judgment denial of qualified immunity for a public school teacher who

retaliated against a student for refusing to participate in a course assignment. Finding that the court

did not have jurisdiction to resolve the factual dispute, the court dismissed the appeal.


                                                  8.

        In Holloman ex rel. Holloman v. Harland, 370 F.3d 1252 (11th Cir. 2004), the Eleventh

Circuit reversed qualified immunity for school officials who punished a student when he raised his

fist in silence during the school’s daily pledge of allegiance. The court specifically found that the

act was student speech and that no substantial disruption occurred as a result of the student’s

actions, so the student’s rights were violated. Id. at 1276. Further, the court used only the Tinker-

Burnside standard, discussed, supra, at ¶ 5, to find that the applicable standard of law was clearly

established. Id. at 1278 (“we find that, as of May 16, 2000, the Tinker-Burnside standard was

clearly established and sufficiently specific as to give the defendants ‘fair warning’ that their

conduct was constitutionally prohibited.”). The court noted that government officials are not “free

of the responsibility to put forth at least some mental effort in applying a reasonably well-defined

doctrinal test to a particular situation.” Id.


                                                  9.

        Here, the Complaint specifically alleges that there was no substantial disruption to the

learning environment. Further, defendants have neither pleaded nor established that a substantial

disruption occurred. As this Court noted in its Ruling (Rec. Doc. 24), Babinski’s paper was


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intended to be kept confidential and to generate a discussion with the defendants alone rather than

to be addressed in the classroom environment in front of other students. As a result, the first and

second prongs of Babinski’s burden to defeat qualified immunity are established.


       WHEREFORE, premises considered, Plaintiff, ANDREW BABINSKI, prays for

judgment in his favor and against Defendants, KRISTIN SOSNOWSKY, SHANNON WALSH,

JOHN FLETCHER, and ALAN SIKES in their personal and official capacities, in such amounts

as are reasonable within the premises, for the injunctive relief prayed for and for all other equitable

relief, and, in addition, for whatever penalties, attorney’s fees, and costs as allowed by law,

together with judicial interest thereon from date of judicial demand until paid.


                                                       Respectfully Submitted:


                                                       ____________________________________
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                                                       Counsel for Plaintiff, Andrew Babinski


                         CERTIFICATE OF ELECTRONIC FILING

       I hereby certify that on November 3, 2021, a copy of the forgoing First Amended

Complaint was filed electronically with the Clerk of Court using the CM/ECF system.

       All counsel will be served through the CM/ECF system. There are no non-CM/ECF

participants.

                                                       _________________________________
                                                       Evan J. Bergeron




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